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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                        )
                             v.                                   )
                                                                  )      Case No.
                                                                  )
                SHAWN CORTEZ MOSES                                )
                   DOB: (  -1991)                                 )
                                                                  )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
        I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of    June 1, 2017 -- June 24, 2018 in the county of                                              in the
                       District of           Columbia         , the defendant(s) violated:

              Code Section                                                 Offense Description
                                 Enticed and coerced minor to engage in sexually explicit conduct for the purpose of producing
18 U.S.C. §§ 2251(a)
                                 visual depiction of such conduct or for the purpose of transmitting a live visual depiction of such
and (e);and 18 U.S.C.            conduct;
§2(a),

 D.C. Code §§ 22-3008,
                                 First Degree Child Sexual Abuse with Aggravating Circumstances.
3020(a)(1)and (a)(4).



         This criminal complaint is based on these facts:

                              SEE ATTACHED STATEMENT OF OFFENSE




         ☐ Continued on the attached sheet.
         u


                                                                                             Complainant’s signature

                                                                                    Thomas Sullivan, Detective, MPD
                                                                                              Printed name and title

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RIMarch1                                                                                2021.03.03
Date:             03/03/2020                                                                           12:45:48 -05'00'
                                                                                               Judge’s signature

City and state:                         Washington, D.C.                     Robin M. Meriweather, U.S. Magistrate Judge
                                                                                              Printed name and title
